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                      EXHIBIT A
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                                                                               NYSCEF:




              SUPREME                           COURT                    OF THE                       STATE                OF NEW                   YORK
              COUNTY                       OF NASSAU
              ..........................................................................

           ATD               TECHNOLOGY                                      LLC             and            MERZENA                                                         Index            No.

              RAGHURAI,
                                                                                                                                                                            SUMMONS
                                                                                           Plaintiffs,


                                                    -against-



          ALVIN                      RAGHURAI,                             ANNE                 RAGHURAI,                               and
              TAYLORED                              STAFFING                          INC.,


                                                                                           Defendants.
              .........................................................................



         TO THE                      ABOVE-NAMED                                           DEFENDANTS:


                             YOU ARE                         HEREBY                         SUMMONED                               to      answer             the       complaint                    in        this       action         and

         to       serve            a copy             of     your           answer,                    or      if    the     complaint                  is    not           served           with          this         summons,
         to       serve            a notice                of        appearance,                        on          the    plaintiffs                 attorney(s)                    within              twenty                (20)     days

         after            service              of     this           summons,                         exclusive               of    the       date           of     service            (or     within                 thirty          [30]
         days            after           service                is    complete                   if     this          summons                 is    not           personally                  delivered                  to     you

         within                the        State            of        New        York);                 and           in    case       of    your         failure             to      appear               or     answer,
         judgment                      will         be       taken            against                  you           by     default           for       the        relief          demanded                      in     the

         complaint.


         Date:               August                             2023
                                                    10,


                                                                                                                    LAW          OFFICE                 OF MATTHEW                                  F.     DIDORA,                     P.C.




                                                                                                                    By:

                                                                                                                           M tthew                 F.    Didor

                                                                                                                           377     Oak         Street,               Suite           203

                                                                                                                           Garden             City,           New           York         11530

                                                                                                                           (516)        414-0333

                                                                                                                           mdidora@didoralaw.com



                                                                                                                    AttorneyforPlaintiffs




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         Mr.    Alvin      Raghurai

         48    Bethune        Blvd.

         Scarborough,                Toronto,      Ontario

         Canada          M1M3C1


         Ms.    Anne       Raghurai

         3 Guilderest           Drive

         Scarborough,                Toronto,      Ontario

         Canada          M1E1E2


         Taylored         Staffing          Inc.

         48    Bethune        Blvd.

         Scarborough,                Toronto,      Ontario

         Canada          M1M3C1




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              SUPREME                            COURT                     OF THE                 STATE                OF NEW                   YORK
              COUNTY                       OF NASSAU
              ..............................--.........................................

              ATD            TECHNOLOGY                                      LLC            and         MERZENA                                                   Index          No.

              RAGHURAI,
                                                                                                                                                                  COMPLAINT
                                                                                          Plaintiffs,


                                                   -against-



           ALVIN                       RAGHURAI,                           ANNE                RAGHURAI,                          and
              TAYLORED                             STAFFING                           INC.,


                                                                                          Defendants.
              .........................................................................



                             Plaintiffs,                   ATD             Technology                     LLC          and        Merzena                   Raghurai,            by       their        counsel,


          Law            Office            of     Matthew                     F.     Didora,              P.C.,         as    and         for       their       complaint              against



          defendants,                         Alvin            Raghurai,                     Anne          Raghurai,                    and       Taylored              Staffing            Inc.,          allege       the


         following:



                                                                                                          Nature             of Action



                             1.                  This         is      an     action             for      injunctive                relief           and       money           damages                arising          from


         defendants'
                                              unlawful                  and          unjustified                  exercise              of      dominion               and      control             over        ATD's



          assets             essential                   to     its        ongoing              operations.



                             2.                  Defendants                        are       former             officers           and          consultants                  of ATD.              Since



         terminating                            their         relationship                        with          the     company,                    defendants                have        acted            in   concert



         to      retain                control            over          ATD's               domain              name             and        email           accounts           and        deprive               ATD       of



         the         use          of    these            assets             unless             ATD          pays           them          unjustified               and        unearned                 payments.



                             3.                 ATD            has         demanded                      that         defendants                  return          the        company's                property,


         but         they              have        refused.




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                          4.                   Defendant                    Alvin           Raghurai                has         even         threatened                         to       exploit              his        unlawful



         control               of   ATD's              assets              to    make            the      company's                 "ability                  to     operate                  . . . a lot                more


         difficult."



                          5.                   Plaintiffs                also         seek           a declaration                that            defendants                         Anne              Raghurai                      and



         Alvin           Raghurai                     are         not       entitled             to     share        in     ATD's              profits.                   Defendants                         have              claimed


                                                                                                                                                                                                                              one-
         to      be     parties                to     an     oral          or    written               agreement                 that         entitles                  each         of       them            to         a



         third           share            of        ATD's           profits.



                          6.                   ATD's           operating                    agreement                 dated             May            25,         2012,          states               that          profits                are



         to      be     split        by        the         members,                   and        the      only       member                  of     ATD              is      plaintiff                Merzena



         Raghurai.                       Furthermore,                           Merzena                 denies         that        she            ever         agreed                to      give        Anne                  and



         Alvin           each            a one-third                     interest               in     ATD's         profits.



                          7.                   Plaintiffs                are         entitled            to    judgment                 directing                    the        defendants                          to        return



         administrative                              control             of ATD's                domain             name           to    ATD,                 awarding                      money              damages                       for


                                                                                                                  defendants'
         losses           sustained                    by      ATD              as     a result           of                                      improper                     control                over          ATD's



         assets           and            declaring                  that        Anne            and       Alvin           are     not         entitled                  to     share             in     ATD's                  profits.



                                                                                                     Parties         and         Venue


                          8.                   Plaintiff                ATD          is   a duly              organized            domestic                        limited                liability             company.



                          9.                   Plaintiff                Merzena                 Raghurai              ("Merzena")                        is        an      individual                    residing                      in



         the          State         of     New             York          and         is   the         president             and         sole           member                   of ATD.



                          10.                  Defendant                    Alvin           Raghurai                ("Alvin")                is    an         individual                     residing                    in



         Canada.



                          11.                  Defendant                    Anne            Raghurai                ("Anne)             is        an     individual                        residing                 in         Canada.




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                       12.            Alvin       and             Anne           are       siblings                 and          Merzena's                    brother                 and      sister-in-law.



                       13.            Upon        information                          and         belief,              defendant                     Taylored                 Staffing              Inc.        is        a



         foreign           corporation                that         is     owned              in        whole             or     in    part           by      defendant                  Alvin.              Upon


         information                 and      belief,             Alvin          acted            as     a consultant                           to        ATD        through                 Taylored



         Staffing.



                                                                                                             Facts



                       14.           ATD         is     a certified                    minority                 and            woman-owned                               small         diverse              and            small



         business            offering          a wide               range             of   recruiting                         services               to     employers                  primarily                  in       the



         information                 technology                   and          healthcare                    markets.



                       15.           ATD         holds             certifications                        from            the         New         York              and      New             Jersey          Minority


         Supplier            Development                      Council,                  NYC             Department                         of        Small          Business                  Services,


         Pennsylvania                    Department                       of     General                 Services,                   and         the         Women's                  Business



         Enterprise                National             Council.



                       16.           ATD's            clients             include             blue-chip                       companies                      ranked              in    the       top        15        of       the



         Fortune             500     list.



                       17.           Merzena                 formed              ATD              in     May             2012.



                       18.           Merzena                 is     the        sole        member                   of        ATD        and              serves          as     ATD's           president.



                       19.           Merzena's                    husband,                 Ryon,               is   ATD's                managing                    partner.



                       20.           ATD's            affairs             are      governed                    by        a written                    operating                  agreement                   dated



         May         25,     2012.




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                       21.          ATD's               operating                agreement                 states            that         net         profits         and       net         losses        are    to


         be      allocated          among               ATD's            members               in    proportion                     to    each          member's                capital



         interests.



                       22.          Merzena                  is    the       sole       member                identified                 in     the      operating                  agreement.



                       23.           Today,             ATD             employs           approximately                           100          individuals                 across           the        United



         States.



                       24.          Defendants                      Alvin           and      Anne          are         Ryon's            brother                and       sister,       respectively.



                       25.          Alvin           registered                ATD's            domain                name            atdtechnology.com                               with         GoDaddy


         at      Merzena's           request              in      or     about          October            2012.



                       26.          ATD            uses         this       domain             name            for      its   website                  and         email       addresses,                  both



         of    which         are    essential                to    ATD's            continued                 operation.



                       27.          At      all     times,              ATD         has      paid       all         fees     associated                     with      the



         atdtechnology.com                          domain                registration.


                                                                                                       "administrator"
                       28.          Alvin           listed          himself             as    the                                                  of ATD's               domain.                 As


         administrator,                    Alvin          alone           possesses              the       ability           to      manage                 the       GoDaddy                 account



         and       associated              emails.                For       example,             when             ATD          hires            a new           employee               or



         consultant,               which           is    common,                 only        Alvin         can        create             the      email            address            for     that        new


         hire.



                       29.           Further,                most         changes              to    the          domain             and         associated                 emails            require



         Alvin's         consent.




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                         30.               Being              named             as      administrator,                               however,                    does        not       confer            any



         ownership                rights,                and        Alvin            was       never              meant                    to    have           any        ownership                    rights          over          the



         atdtechnology.com                                    domain             name.



                         31.               Alvin           and        Anne             began               working                   for        ATD         in       or    about              2015:        Alvin             served



         as      chief        operating                  officer,              and       Anne              served               as     bookkeeper                         through                her       company,



         Raghurai,                Inc.,            a Canadian                    corporation.



                         32.               On         April         6,      2023,        Anne               resigned                   her         role         as    bookkeeper,                       "[e]ffective


         immediately,"
                                                 without             any         advanced                    notice              to        ATD.


                         33.               Concurrently                         with        Anne's                abrupt                   resignation,                      Alvin            abandoned                  his        role



         as      chief        operating                  officer.              While          Alvin               never               provided                   notice         that           he      was


         terminating                       his     relationship                      with           ATD,               he       has         not      performed                     any           work         for      the



         company                since            on      or      about          April          6,     despite                   demand.



                         34.               ATD           has        requested                  that          Alvin               perform                  certain             functions                  pertaining                   to



         the       GoDaddy                   account                after        April         6.          For         example,                    one          of ATD's               key          recruiters                had



         exceeded               his        email              storage            such         that           he        could               no     longer             send          emails.               ATD           asked



         Alvin           on    multiple                 occasions                 to     upgrade                  the           account,                  but        Alvin           initially             refused.



                         35.               Instead,               Alvin          demanded                         an        exorbitant                     payment                   from           ATD          and


                                                                                                                                                                                                        difficult"
         threatened                   to     make              Merzena's                   "ability               to        operate               ATD             . . . a lot           more



         unless           he     received                  the       payment.                   This             was            no     doubt              a reference                    to      the      control             he      has



         over       ATD's             domain                  and        his     ability              to     delete              the            website              and       cancel             ATD's              email



         accounts,               among                 other         things.




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                      36.               More         recently,                 upon          information                         and        belief,         Alvin         stopped              paying                the



         monthly             subscription                      service            fee      to      GoDaddy                      needed             to     maintain             the        domain                name.



         Only       after          Alvin          was         challenged                   for      doing            so        did     he        pay      the      arrearages                  and       bring


         the      account              current.



                      37.               ATD          has           demanded                 that        Alvin               transfer              the       administration                          of ATD's



         domain             name           to     Ryon,            but      Alvin          has         refused.



                      38.               There           is    no       legitimate                  reason                for     Alvin           to     deprive          ATD         of    access               to    its



         own       domain               name.



                      39.               Since        terminating                         their         relationship                       with          ATD,           Anne         and        Alvin        have



         claimed            to     be      parties            to    an      agreement                    to        split         ATD's            profits          as    follows:              one-third                    to



         Anne,       one-third                  to   Alvin,              and        one-third                 to     Merzena                     and      Ryon.



                      40.               Merzena                denies             that           she    ever             agreed             to     give      Anne         or      Alvin          one-third                   of



         ATD's        profits.



                      41.               When          Merzena                     denied           Anne's                  and       Alvin's            alleged          rights           to    share            in



         ATD's        profits,              Anne           and         Alvin         embarked                      on          a public           campaign                to   defame                and



         besmirch                Merzena's                   and         Ryon's           reputations,                         even         stooping              so    low     as    to       attack



         Merzena                 and       Ryon         to     their           own        children.


                                                                                                                                                                         spouse"
                      42.               For       example,                 Anne            called         Merzena                      a "gold            digger                               on      social



         media.




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                                                                         Amme maghural                                             "· -      X

                                                              When your spouse doesn't value your family, be clear
                                                              that you have a problem and refook at your situation ...
                                                              look within ... 'cos your soul mate wou$d never take ittat
                                                              position...a   gold digger spouse might be where )Nna're
                                                              at!!!!   5 important to choose wisely when it's your
                                                              frictime partner ... well heym I know,... I'm still loololog                        :
                                                              (round 2) because settling tr#t an optmn in my
                                                              book!!!! And nocomments        about pieluness... some of
                                                              us might not be destined to find our soulmates (ah
                                                              well!!!) and we'd rather meander through life (to be
                                                              elear, a happy one!H) whhout a soutmate rather than
                                                              settle for mediocrity...  what's Important to note is that
                                                              a soulmate is a preference but without one. our
                                                              happiness isn't compromised!!!      Some of us are
                                                              sufficiently  elevated mentally to know that our
                                                              happiness is not about anyone but ourselvesM!

                                                              Q Nanda Mara; and 3 others                                        2 comments


                                                                    g)    L&e                        Coasment              3 Massag a


                     43.          Anne        and        Alvin's         sister        Melissa             sent     Merzena              a series       of   unhinged         text


                                                                                       shit"                                                                            up"
         messages            calling        Merzena            a "piece           of                 and       promising           to     "fuck       [Merzena]


                                                                                                      wall."
         and   put         Merzena's          "fucking             head       through            a


                                                                                                                                 hurt"
                     44.          Melissa           is   prepared            to    "fucking            go      to   jail   to                to     Ryon     and    Merzena.




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                                         5528                f                                                                                          .a    LTE       S

                                                                                                           usa




                                      If you           ever           see          me           in     the          street,                 make
                                      sure        you             cross            it.        I will          put          your

                                      fucking                head            through                       a wall.                 You           and
                                      you        husband                     are          the          scum                   b of         the
                                      earth.               I hope            you              die      a painful                         death.          I

                                      hope            to      see         you            in     the         future                  and          I

                                      promise                    you......


                                      Make             sure          you           show                your              husband
                                      this.-..               I want           to         put         a bat               to        his

                                      knees


                                      I would                fucking                go          to     jail         to        hurt          the

                                      two        of        you


                                                                                               sunday              2 44 PM


                                      Make             sure          when                you           are          driving                 next
                                      time        to         wrap            your              car         around                    a

                                      fucking                pole            you          piece               of         shit!!!


                                      The        world              would                 be         a better                   place

                                      after           that



                                                                                                                                                             parties'
                     45.   Judicial     intervention                          is     necessary                           to     resolve                the                  existing


         disputes.




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                                                        AS AND                 FOR             A FIRST                 CAUSE                     OF ACTION
                                                    (Conversion                    against               Alvin          and           Taylored                    Staffing)



                      46.              Plaintiffs                repeat            and         reallege               each           of    the         foregoing               allegations                as      if



         fully      set     forth           hereat.



                      47.              ATD            has      a possessory                      right           and         interest                 to    the       domain             name


         atdtechnology.com.



                      48.              Defendants                    Alvin          and          Taylored                    Staffing                 have         improperly                  exercised



         complete               dominion                over        ATD's           domain                name               and          interfered                  with         ATD's         use       and



         enjoyment                of    the         domain            in      derogation                  of     ATD's               rights.



                      49.              As      a result,             ATD           has         been         damaged                       in     an        amount             to    be     determined                   at



         trial.



                      50.              In     addition,               ATD          is     entitled               to    an       injunction                     directing              defendants                   to



         transfer           administrative                          control             over       the         atdtechnology.com                                      domain             name       to     Ryon,


         Merzena             and/or            ATD.


                                                      AS AND               FOR           A SECOND                            CAUSE                OF ACTION
                                                             (Breach               of    Fiduciary                    Duty           against                 Alvin)



                      51.              Plaintiffs               repeat             and         reallege               each           of    the        foregoing                allegations                as      if



         fully      set     forth           hereat.



                      52.              In     his       capacity              as    chief         operating                    officer,               Alvin           owes         fiduciary             duties          of



         loyalty          and       good        faith          to    ATD.


                      53.              Those            duties         obligate                Alvin           to      act      in        ATD's             best        interest           and      to     refrain



         from       self-dealing.




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                         54.                 Alvin            has           breached                 those           duties          by         commandeering                          ATD's              domain



         name,           refusing                  to      provide                  access           to     ATD            unless           Alvin             receives          an        extortionist



         payment,                   refusing                  to      perform                upgrades                 to      ATD's             email             necessary               for     ongoing


         business,                  and          abandoning                          his     responsibilities                            altogether,                  among            other            reasons.



                         55.                 As      a result                    of Alvin's               breaches,                ATD            has         been       damaged                  in     an     amount


         to      be    determined                        at        trial.



                                                                AS AND                     FOR        A THIRD                     CAUSE                  OF ACTION
                                  (Declaratory                           Judgment                    That         No        Profit           Sharing                 Agreement                   Exists)


                         56.                 Plaintiffs                     repeat           and          reallege            each           of    the        foregoing              allegations                   as     if



         fully         set        forth          hereat.



                         57.                 By      letter              dated             August            4,      2023,           Anne           and         Alvin         stated             the      "we       all



         agreed              to     split         ATD's               profits              equally            (one-third                   to     Ryon            and      Merzena,                    one-third               to



         Alvin,          and          one-third                     to       Anne)           and          demanded                   confirmation                        from        Ryon              and      Merzena



         on       or   before               August                 11,        2023          that          such        arrangement                         exists.



                         58.                 Merzena,                       individually                    and        as     the         sole      member                 of ATD,               denies            that        she



         ever          agreed               to    amend                  ATD's                                       agreement                     to     split         ATD's          profits            equally              with
                                                                                           operating


         non-members                             Anne              and           Alvin.



                         59.                 An      actual,                  justiciable                  controversy                     exists          requiring                the         Court's



         intervention.



                                                                            plaintiffs              are      entitled               to     a judgment                     against               defendants                 as
                         WHEREFORE,

          follows:



                         a.                  On         their            first        cause          of     action,                                      defendants                  Alvin             Raghurai                 and
                                                                                                                                 directing


          Taylored                                         to       transfer                administrative                           control             of    the       domain              name
                                    Staffing



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         atdtechnology.com                             to     Ryon        Raghurai,                    Merzena             Raghurai,                    and/or               ATD           and     awarding



         money           damages               in      an      amount             to      be     determined                    at    trial;



                      b.           On          their          second            cause           of     action,         awarding                  money               damages                  against



         defendants              Alvin              Raghurai               in    an       amount             to      be    determined                        at     trial;



                      c.           On          their          third        cause           of    action,            declaring                 that       defendants                        Anne


         Raghurai            and     Alvin                  Raghurai              are      not         entitled           to    a one-third                       interest             each       of ATD's



         profits;



                      d.           On          all      causes           of     action,              awarding             plaintiffs                 such          other             and      further



         relief     as     the     Court              deems            just,      proper              and         equitable.


         Date:        August                         2023
                                         10,


                                                                                                                    LAW             OFFICE                   OF MATTHEW                             F.

                                                                                                                    DIDORA,                    P.C.




                                                                                                                    By:

                                                                                                                                    a   thew            F.    Did            ra

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